         Case 1:23-cr-00036-PB           Document 1       Filed 04/26/23      Page 1 of 8
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW HAMPSfflRE

  UNITED STATES OF AMERICA                      )
                                                )         23-cr-36-PB-01
           V.                                   )
                                                )
  STEVEN POWELL                                 )




                                          INFORMATION

  THE UNITED STATES ATTORNEY CHARGES:

                                    GENERAL ALLEGATIONS

  At all times relevant to this Information:

                                       The Medicare Program

         1.      The Medicare program (“Medicare”) was a federal health care program providing

  benefits to persons who were 65 years of age or older or disabled. Medicare was administered by

  the Centers for Medicare and Medicaid Services (“CMS”), a federal agency under the United

  States Department of Health and Human Services (“HHS”). Individuals who received benefits

  under Medicare were referred to as Medicare “beneficiaries.

         2.      Medicare was a “health care benefit program,” as defined by Title 18, United States

  Code, Section 24(b), and a “Federal health care program,” as defined by Title 42, United States

  Code, Section 1320a-7b(f).

         3.      Medicare was divided into four parts and covered specific benefits, items, and

  services: hospital insurance (Part A), medical insurance (Part B), Medicare Advantage (Part C),

  and prescription drug benefits (Part D).

         4.      Specifically, Medicare Part B covered medically necessary physician office

  services and outpatient care, including the ordering of durable medical equipment, prosthetics.
       Case 1:23-cr-00036-PB             Document 1      Filed 04/26/23     Page 2 of 8




orthotics, and supplies (collectively, “DME”) that were ordered by licensed medical doctors or

other qualified health care providers.

       5.      Physicians, clinics, laboratories, and other health care providers who provided

services to Medicare beneficiaries were able to apply for and obtain a “provider number.” A health

care provider who received a Medicare provider number was able to file claims with Medicare to

obtain reimbursement for services provided to beneficiaries.

       6.      To receive Medicare reimbursement, providers had to completean application and

execute a written provider agreement, known as CMS Form 855. The application contained

certifications that the provider agreed to abide by Medicare laws and regulations, and that the

provider “[would] not knowingly present or cause to be presented a false or fraudulent claim for

payment by Medicare, and [would] not submit claims with deliberate ignorance or reckless

disregard of their truth or falsity.” Medicare providers were given access to Medicare manuals

and service bulletins describing procedures, rules, and regulations.

       7.      CMS contracted with various companies to receive, adjudicate, process, and pay

Part B claims, including claims for DME. SafeGuard Services LLC was the Unified Program

Integrity Contractor for the state of New Hampshire, and as such, it was the Medicare contractor

charged with investigating fraud, waste, and abuse.

                                  Durable Medical Equipment

       8.      Medicare covered an individual’s access to DME, such as off-the-shelf(“OTS”)

ankle braces, knee braces, back braces, elbow braces, wrist braces, and hand braces (collectively.

 braces”). OTS braces required minimal self-adjustment for appropriate use and did not require

expertise in trimming, bending, molding, assembling, or customizing to fit the individual.




                                                2
       Case 1:23-cr-00036-PB          Document 1        Filed 04/26/23     Page 3 of 8




       9.     A claim for DME submitted to Medicare qualified for reimbursement only if it was

medically necessary for the treatment or diagnosis of the beneficiar>'’s illness or injury and

prescribed by a licensed physician. In claims submitted to Medicare for the reimbursement of

provided DME, providers were required to set forth, among other information, the beneficiary’s

name and unique Medicare identification number, the equipment provided to the beneficiary, the

date the equipment was provided, the cost ofthe equipment, and the name and provider number of

the provider who prescribed or ordered the equipment. To be reimbursed from Medicare for DME,

the claim had to be reasonable, medically necessary, documented, and actually provided as

represented to Medicare.

       10.    Medicare claims were required to be properly documented in accordance with

Medicare rules and regulations. For certain DME products. Medicare promulgated additional

requirements that a DME order was required to meet for an order to be considered “reasonable and

necessary.” For example,for OTS knee braces billed to Medicare under the Healthcare Common

Procedure Coding System (“HCPCS”) Code LI851, an order would be deemed “not reasonable

and necessary,” and reimbursement would be denied unless the ordering/referring physician

documented the beneficiary’s knee instability using an objective description of joint laxity

detennined through an examination of the beneficiary.

                                         Telemedicine

              Telemedicine provided a means of connecting patients to doctors and other health

care providers by using telecommunications technology to interact with a patient.

       12.    Telemedicine companies provided telemedicine services to individuals by hiring

doctors and other health care providers. To generate revenue, telemedicine companies typically




                                               3
       Case 1:23-cr-00036-PB             Document 1      Filed 04/26/23      Page 4 of 8




either billed insurance or received payment from patients who used the services ofthe telemedicine

company.

       13.       Medicare Part B covered expenses for specified telemedicine services if certain

requirements were met. These requirements included, but were not limited to, that: (a) the

beneficiary was located in a rural or health professional shortage area;(b) services were delivered

via a two-way, real-time interactive audio and video telecommunications system; and (c) the

beneficiary was at a practitioners office or.a specified medical facility - not at a beneficiary’s

home - during the telemedicine consultation with a remote practitioner.

                                          The Defendant

       14.       Defendant STEVEN POWELL, a former resident of Grantham, New Hampshire,

and current resident of Alpharetta, Georgia, was a physician licensed to practice in New Hampshire

and elsewhere. STEVEN POWELL was a Medicare provider and was required to abide by all

Medicare rules and regulations. STEVEN POWELL worked as an independent contractor for

purported telemedicine staffing companies such as Company 1, which would connect medical

practitioners with patients, as well as purported telemedicine companies such as Company 2,

described below.

                                Related Individuals and Entities

       15.       Company 1, a company known to the United States of America, was a

Massachusetts company that operated as a purported telemedicine staffing company that did

business throughout the United States.

       16.       Company 2, a company known to the United States of America, was a Florida

company that operated as a purported telemedicine company that did business throughout the

United States.



                                                4
       Case 1:23-cr-00036-PB           Document 1        Filed 04/26/23      Page 5 of 8




       17.     J.K. was a Medicare beneficiary residing in the District of Rhode Island.

                                            COUNT 1
                                     18U.S.C. §§ 1347 and 2
                                      (Health Care Fraud)

               Paragraphs I through 17 of the General Allegations section of this Information are

re-alleged and incorporated by reference as though fully set forth herein.

       19.     From in or around December 2018, and continuing through in or around February

2019, the exact dates being unknown to the United States of America, in the District of New

Hampshire, and elsewhere, the defendant, STEVEN POWELL,in connection with the delivery of.

and payment for, health care benefits, items, and services, did knowingly and willfully execute,

and attempt to execute, a scheme and artifice to defraud Medicare and other health care benefit

programs affecting commerce, as defined in Title 18, United States Code, Section 24(b), and to

obtain by means of materially false and fraudulent pretenses, representations, and promises, money

and properly owned by, and under the custody and control of, said health care benefit program, in

connection with the delivery of, and payment for, health care benefits, items, and services.

                              Purpose of the Scheme and Artifice

       20.     It was a purpose of the scheme and artifice for STEVEN POWELL and his

accomplices to unlawfully enrich themselves by: (a) submitting and causing the submission of

false and fraudulent claims to Medicare that were (i) medically unnecessary, (ii) not eligible for

Medicare reimbursement, and (iii) not provided as represented;(b) concealing the submission of

false and fraudulent claims and the receipt and transfer of the proceeds from the fraud; and (c)

diverting proceeds of the fraud for their personal use and benefit.




                                                 5
       Case 1:23-cr-00036-PB           Document 1        Filed 04/26/23       Page 6 of 8




                                    The Scheme and Artifice

       21.     On or about October 22, 2014, STEVEN POWELL certified to Medicare that he

would comply with all Medicare rules and regulations. For all times during the charged period,

STEVEN POWELL was a Medicare provider and was required to abide by all Medicare rules and

regulations and federal laws, including that he would not knowingly present or cause to be

presented a false and fraudulent claim for payment by Medicare.

       22.     Thereafter, STEVEN POWELL devised and engaged in a scheme to submit false

and fraudulent claims to Medicare for:(a) DME that was not medically necessary; and (b) DME

that was not eligible for reimbursement from Medicare.

       23.     STEVEN POWELL agreed with others at Company 1 and Company 2 to sign brace

orders for Medicare beneficiaries in exchange for approximately $15 per order reviewed.

       24.     STEVEN POWELL received pre-filled unsigned prescriptions for DME for

Medicare beneficiaries, from accomplices working on behalf of Company 1 and Company 2, for

him to electronically sign.

       25.     STEVEN POWELL ordered braces that were medically unnecessary, for Medicare

beneficiaries with whom he lacked a pre-existing medical practitioner-patient relationship, without

a physical examination, and/or without communicating substantively with the Medicare

beneficiary.

       26.     STEVEN POWELL and others falsified, fabricated, altered, and caused the

falsification, fabrication, and alteration of patient files, brace orders, and other records, all to

support claims to Medicare for braces that were medically unnecessary, ineligible for Medicare

reimbursement, and not provided as represented.




                                                 6
        Case 1:23-cr-00036-PB          Document 1       Filed 04/26/23      Page 7 of 8




       27.       specifically, STEVEN POWELL;(a)falsely stated that he determined, through his

assessment of the Medicare beneficiary, that a particular course of treatment, including the

prescription of braces, was appropriate and medically necessary; (b) falsely attested that he was

treating the Medicare beneficiary; (c) falsely attested that he had a valid prescriber-patient

relationship with the Medicare beneficiary; and (d) concealed the fact that he never saw the

beneficiaries face-to-face, and that he did not have any communication with most of the

beneficiaries.

       28.       While in the District of New Hampshire, STEVEN POWELL electronically

submitted orders for DME on behalf of Medicare beneficiaries, which caused DME suppliers to

ship medically unnecessary DME to beneficiaries and to submit claims to Medicare for

reimbursement.

       29.       From in or around December 2018, through in or around February 2019, STEVEN

POWELL and others submitted and caused the submission of more than $1,900,000 in false and

fraudulent claims to Medicare for DME that was ineligible for Medicare reimbursement because

the DME was not medically necessary, not eligible for reimbursement, and not provided as

represented. Medicare paid more than $760,000 on these claims.

                          Acts in Execution of the Scheme and Artifice

       30.       On or about the date specified below, in the District of New Hampshire, and

elsewhere, the defendant, STEVEN POWELL, aided and abetted by, and aiding and abetting,

others known and unknown to the United States of America, submitted and caused to be submitted

the following false and fraudulent claim to Medicare for DME that was, among other things, not

legitimately prescribed, not needed, and not used, and in execution of the scheme as described in

paragraphs 21 to 29:



                                               7
            Case 1:23-cr-00036-PB        Document 1        Filed 04/26/23         Page 8 of 8




            Medicare       Approx.                                                              Approx.
Count                      Date of        Claim Number           Description of Devices         Amount
           Beneficiarj'                                           Billed; HCPCS Code
                            Claim                                                                Billed
              J.K-.        12/28/18      118365725186001        Left knee brace (L1851);        $1,173.27
                                                               Suspension sleeve (L2397)


   In violation of Title 18, United States Code, Sections 1347 and 2.

                                                         JANE E. YOUNG
                                                         United States Attorney




   Date:                                               By:^
                                                       >^Jay     ormack
                                                         Jobff Kennedy
                                                         Assistant United States Attorneys




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